Case 15-56724-bem          Doc 153    Filed 02/03/21 Entered 02/03/21 08:36:17            Desc Main
                                     Document      Page 1 of 5



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


 IN RE:                                               :       CHAPTER 7
                                                      :
 GWENDOLYN LORITA MARTIN,                             :       CASE NO. 15-56724-BEM
 aka GWENDOLYN ECHOLS MARTIN,                         :
                                                      :
          Debtor.                                     :
                                                      :

           CHAPTER 7 SUPPLEMENTAL DIVIDEND DISTRIBUTION REPORT

          The disbursement made to the Fulton County Tax Commissioner in the amount of $26.30

 was returned by the creditor stating that its claims had already been paid in full. The Trustee will

 redistribute said amount to allowed claims as set forth according to the priorities in 11 U.S.C. §

 507 and 726 and in accordance with Fed. R. Bankr. P. 3010 and 3011. The approved final

 supplemental distributions are set forth in the attached Exhibit “A.”




  Prepared by:

     /s/ s. Gregory Hays
  S. Gregory Hays
  Chapter 7 Trustee

  Hays Financial Consulting, LLC
  2964 Peachtree Road, NW, Ste 555
  Atlanta, GA 30305
  (404) 926-0060
  ghays@haysconsulting.net
Case 15-56724-bem            Doc 153      Filed 02/03/21 Entered 02/03/21 08:36:17                    Desc Main
                                         Document      Page 2 of 5



                                TRUSTEE'S PROPOSED RE-DISTRIBUTION
                                                                                                       Exhibit A


      Case No. 15-56724
      Case Name: GWENDOLYN LORITA MARTIN
      Trustee Name: S. Gregory Hays

                                                   Balance on hand:       $                               26.30

           Claims of secured creditors will be paid as follows:

  Claim     Claimant                                       Claim        Allowed          Interim         Proposed
  No.                                                    Asserted       Amount       Payments to          Payment
                                                                        of Claim           Date
  11        Resolution Financial Corp                    2,859.95       3,343.97          3,343.97            0.00
  16S       Wells Fargo Card Services                    1,000.00             0.00            0.00            0.00
  20        AmeriCredit Financial Services, Inc.       21,884.44       21,884.44              0.00            0.00
  2         AmeriCredit Financial Services, Inc.       20,236.74       20,236.74              0.00            0.00
  5         Farmers Furniture                              415.95         415.95              0.00            0.00

                                                Total to be paid to secured creditors:       $                 0.00
                                                Remaining balance:                           $                26.30

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                        Total             Interim      Proposed
                                                                      Requested          Payments         Payment
                                                                                           to Date

  Trustee, Fees - S. Gregory Hays                                       4,724.25          4,504.59            0.00
  Trustee, Expenses - S. Gregory Hays                                     118.72            113.20            0.00
  Attorney for Trustee Fees (Other Firm) - Arnall Golden               16,773.25         15,993.36            0.00
  Gregory LLP
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden              607.92            579.65            0.00
  Gregory LLP
                     Total to be paid for chapter 7 administrative expenses:                  $                0.00
                     Remaining balance:                                                       $               26.30

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                  Total            Interim          Proposed
                                                                    Requested        Payments         Payment

                                                       None




UST Form 101-7-TFR(5/1/2011)
Case 15-56724-bem             Doc 153     Filed 02/03/21 Entered 02/03/21 08:36:17                 Desc Main
                                         Document      Page 3 of 5



                      Total to be paid for prior chapter administrative expenses:              $            0.00
                      Remaining balance:                                                       $           26.30

              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $12,728.02 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                            Allowed Amount         Interim Payments             Proposed
  No.                                                    of Claim                  to Date             Payment
  4           Fulton County Tax                                0.00                     0.00                0.00
              Commissioner
  8P          Department of the Treasury                 10,923.62                  1,092.36               22.57
  12P         Georgia Department of                       1,804.40                   180.45                 3.73
              Revenue
                                                    Total to be paid for priority claims:      $           26.30
                                                    Remaining balance:                         $            0.00




UST Form 101-7-TFR(5/1/2011)
Case 15-56724-bem             Doc 153      Filed 02/03/21 Entered 02/03/21 08:36:17                 Desc Main
                                          Document      Page 4 of 5



             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $86,574.46 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount       Interim Payments               Proposed
  No.                                                     of Claim                to Date               Payment
  1           Regional Acceptance                        10,389.41                    0.00                     0.00
              Corporation
  3           Automotive Credit                           9,709.55                    0.00                     0.00
              Corporation
  6           Midland Credit Management,                    982.92                    0.00                     0.00
              Inc.
  7           World Finance Corporation                   1,811.78                    0.00                     0.00
  8Ua         Department of the Treasury                  8,438.49                    0.00                     0.00
  9           BellSouth                                   1,255.31                    0.00                     0.00
              Telecommunications, Inc.
  10          AT&T Mobility II LLC %AT&T                    896.74                    0.00                     0.00
              SERVICES INC.
  12U         Georgia Department of                       2,782.92                    0.00                     0.00
              Revenue
  13          Herbert L. McGrew and                            0.00                   0.00                     0.00
              McGrew & Associates, Inc.
  14          Herbert L. McGrew and                      14,872.27                    0.00                     0.00
              McGrew & Associates, Inc.
  15          Probate Estate of William C.               32,331.13                    0.00                     0.00
              Martin
  16U         Wells Fargo Card Services                        0.00                   0.00                     0.00
  17          Portfolio Recovery                            820.42                    0.00                     0.00
              Associates, LLC
  18          Portfolio Recovery                            492.09                    0.00                     0.00
              Associates, LLC
  19          Portfolio Recovery                            208.95                    0.00                     0.00
              Associates, LLC
  21          Pinnacle Credit Services, LLC                 884.97                    0.00                     0.00
  22          MERRICK BANK                                  480.51                    0.00                     0.00
  23          GUARANTY BANK                                 217.00                    0.00                     0.00
                         Total to be paid for timely general unsecured claims:               $                 0.00
                         Remaining balance:                                                  $                 0.00




UST Form 101-7-TFR(5/1/2011)
Case 15-56724-bem            Doc 153      Filed 02/03/21 Entered 02/03/21 08:36:17                  Desc Main
                                         Document      Page 5 of 5



          Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
   paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
   have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
   applicable).
          Tardily filed general (unsecured) claims are as follows:
  Claim    Claimant                               Allowed Amount        Interim Payments               Proposed
  No.                                                    of Claim                 to Date               Payment

                                                       None

                        Total to be paid for tardily filed general unsecured claims:          $               0.00
                        Remaining balance:                                                    $               0.00

         Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
   subordinated by the Court totaling $7,614.59 have been allowed and will be paid pro rata only after all
   allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
   subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
         Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
   subordinated by the Court are as follows:

  Claim    Claimant                               Allowed Amount        Interim Payments               Proposed
  No.                                                    of Claim                 to Date               Payment
  8Ub      Department of the Treasury                     7,614.59                     0.00                  0.00
                                                Total to be paid for subordinated claims: $                   0.00
                                                Remaining balance:                        $                   0.00

   Date: Jan 28, 2021                  Signed: /s/ S. Gregory Hays
                                               S. Gregory Hays, Trustee
                                               2964 Peachtree Road, NW, Ste. 555
                                               Atlanta, GA 30305
                                               4049260060




UST Form 101-7-TFR(5/1/2011)
